            Case 2:16-cr-00230-GMN-DJA          Document 97      Filed 02/03/17     Page 1 of 1




1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                       ***

4

5
      UNITED STATES OF AMERICA,
6
                            Plaintiff,
7                                                         2:16-cr-00230-GMN-CWH
      vs.                                                 MINUTE ORDER
8     DONTE MCFRAZIER,
9                            Defendant.
10

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12            Before the Court is Defendant’s Motion for Modification of Pretrial Release Conditions (ECF No.
13   96).
14            IT IS HEREBY ORDERED that any opposition to Defendant’s Motion for Modification of Pretrial
15   Release Conditions (ECF No. 96) must be filed on or before February 10, 2017. No reply needed.
16            DATED this 3rd day of February, 2017.
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18
                                                                 CAM FERENBACH
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                                                                 UNITED STATES MAGISTRATE JUDGE

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